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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                  §
 BRAZOS LICENSING AND                         §     CIVIL ACTION 6:20-cv-00571-ADA
 DEVELOPMENT,                                 §     CIVIL ACTION 6:20-cv-00572-ADA
           Plaintiff,                         §     CIVIL ACTION 6:20-cv-00573-ADA
                                              §     CIVIL ACTION 6:20-cv-00574-ADA
                                              §     CIVIL ACTION 6:20-cv-00575-ADA
                                              §     CIVIL ACTION 6:20-cv-00576-ADA
                                              §     CIVIL ACTION 6:20-cv-00577-ADA
                                              §     CIVIL ACTION 6:20-cv-00578-ADA
 v.                                           §     CIVIL ACTION 6:20-cv-00579-ADA
                                              §     CIVIL ACTION 6:20-cv-00580-ADA
                                              §     CIVIL ACTION 6:20-cv-00581-ADA
                                              §     CIVIL ACTION 6:20-cv-00582-ADA
                                              §     CIVIL ACTION 6:20-cv-00583-ADA
 GOOGLE LLC,                                  §     CIVIL ACTION 6:20-cv-00584-ADA
          Defendant.                          §     CIVIL ACTION 6:20-cv-00585-ADA


            JOINT MOTION TO ENTER DISPUTED SCHEDULING ORDER
TO THE HONORABLE COURT:

       Pursuant to the Court’s Order to meet and confer in advance of the Rule 16 Case

Management Conference and the Court’s Order Governing Proceedings (“OGP”), the Parties have

reached agreement concerning the Scheduling Order on everything except for one issue

highlighted in the attached Proposed Scheduling Order is attached as Exhibit A.
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Date: October 30, 2020       Respectfully submitted,

                             By:    /s/ James L. Etheridge
                                    James L. Etheridge
                                    Texas Bar No. 24059147
                                    Ryan S. Loveless
                                    Texas Bar No. 24036997
                                    Brett A. Mangrum
                                    Texas Bar No. 24065671
                                    Travis L. Richins
                                    Texas Bar No. 24061296
                                    Jeff Huang
                                    Etheridge Law Group, PLLC
                                    2600 E. Southlake Blvd., Suite 120 / 324
                                    Southlake, TX 76092
                                    Tel.: (817) 470-7249
                                    Fax: (817) 887-5950
                                    Jim@EtheridgeLaw.com
                                    Ryan@EtheridgeLaw.com
                                    Brett@EtheridgeLaw.com
                                    Travis@EtheridgeLaw.com
                                    Jeff@EtheridgeLaw.com

                                    Mark D. Siegmund
                                    State Bar No. 24117055
                                    mark@waltfairpllc.com
                                    Law Firm of Walt, Fair PLLC.
                                    1508 North Valley Mills Drive
                                    Waco, Texas 76710
                                    Telephone: (254) 772-6400
                                    Facsimile: (254) 772-6432

                                    Counsel for Plaintiff WSOU Investments, LLC


                                    /s/ Michael E. Jones
                                    Michael E. Jones (Texas Bar No. 10929400)
                                    Patrick C. Clutter (Texas Bar No. 24036374)
                                    Potter Minton, P.C.
                                    110 North College, Suite 500
                                    Tyler, Texas, 75702
                                    +1 (903) 597-8311
                                    +1 (903) 593-0846 facsimile
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                                            mikejones@potterminton.com
                                            patrickclutter@potterminton.com


                                            Tharan Gregory Lanier (pro hac vice)
                                            Jones Day
                                            1755 Embarcadero Road
                                            Palo Alto, California, 94303
                                            +1 (650) 739-3939
                                            +1 (650) 739-3900 facsimile
                                             tglanier@jonesday.com


                                            Matthew S. Warren (pro hac vice)
                                            Jen Kash (pro hac vice)
                                            Warren Lex LLP
                                            2261 Market Street, No. 606
                                            San Francisco, California, 94114
                                            +1 (415) 895-2940
                                            +1 (415) 895-2964 facsimile
                                            matt@warrenlex.com
                                            jen@warrenlex.com

                                            Attorneys for Defendant Google LLC




                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered

electronically via U.S. District Court [LIVE]- Document Filing System, to all counsel of record,

on this the 30th day of October 2020.

                                            /s/ James L. Etheridge
                                            James L. Etheridge
